                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


KLOOSTERBOER
INTERNATIONAL FORWARDING,
LLC, et al.,

                 Plaintiffs,                Case No. 3:21-cv-00198-SLG

           v.

UNITED STATES OF AMERICA, et
al.,

                 Defendants.


UNITED STATES OF AMERICA, et
al.,

                 Counter Claimants,

           v.

KLOOSTERBOER, et al.,

                 Counter Defendants.


  ORDER RE STATUS REPORTS AND REQUEST FOR ADDITIONAL STAY

      The Court has reviewed Defendants’ Status Report at Docket 216 and

Plaintiffs’ Response to Defendants’ January 4, 2024 Status Report at Docket 217.

Upon due consideration, the Court GRANTS Defendants’ request for an additional

stay to complete the settlement process in this matter as follows: IT IS ORDERED

that the Stay of all deadlines in this case is extended to February 5, 2024. However,

no additional stays will be granted in this matter absent a showing of exceptional




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circumstances beyond that date. If case closing documents are not filed by

February 5, 2024, the Court intends to promptly thereafter schedule a hearing to

show cause.

       DATED this 9th day of January, 2024.

                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




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